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QO. Were there any other guestions that you

were asked to consider?

A. That was the primary question.
Q. Were there other questions you took into
consideration?

MR. FENN: I advise the witness not to
reveal any privileged communications between her and
her attorneys that aren't discussed in the report.

THE WITNESS: That was the primary
question that I was asked to answer.

Q. (BY MR. SAMPAT) Okay. So would your
conclusions change upon reviewing more documents
later?

MR. FENN: Object to the form;
Incomplete hypothetical.

THE WITNESS: I'd have to see the
documents.

Q: (BY MR. SAMPAT) So it -- are there
documents that could potentially be relevant that
you would consider that may change your opinions?

MR. FENN: Same objection.

THE WITNESS: If that hypothetical --
it could be any document that says anything. If
there were documents that said the opposite of

documents that I received, I would -- it would

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affect my -- it could affect my -- my conclusions.
However, I base this on the documents that I
reviewed at the time.

Q. (BY MR. SAMPAT) Do you know of any
documents that may contradict some of the other
documents that you reviewed in this case?

MR. FENN: Object to form.
THE WITNESS: Contradict?

Q (BY MR. SAMPAT) Well, you -- you said that

there could be some report or documents that come

out that contradict stuff you've already reviewed.

Correct?

A, In the hypothetical?

Q. Right.

A. My results and conclusions reflect what I
reviewed. If what I was reviewing was different, my

results would look different.
QO. Correct. So this -- so we understand that.
What I'm asking is, do you know of any documents

that contradict some of the documents you already

reviewed?

MR. FENN: Object to form.

THE WITNESS: I'm just not sure what
you mean by "contradict." And, perhaps, it's too

vague. Maybe if it was more specific.

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Q. (BY MR. SAMPAT) So if you viewed a report
hypothetically and then there was another report
that directly contradicted it in terms -- it showed
the opposite conclusion.

A, I did not base any -- any of my conclusions
on one specific document.

Q. Uh-huh.

A. It was in the totality of the documents.
Q. Okay.

Pe Yeah.

G. Okay. In your report, is it true that you

say that there's a policy and practice of

turn-backs?

A. Where do I say that? On what page?
Q. It is on Page -- Page 9, Subparagraph A.
A, That is what it states. It says, "A policy

and practice of turning back asylum seekers arriving
on ports of entry on the U.S.-Mexico border" --

THE REPORTER: I'm sorry. When you
read you need to slow down just a little bit.

THE WITNESS: I'm sorry. I said, yes,
it says beginning in 2016, U.S. Customs and Border
Protection adopted a policy and practice of turning
back asylum seekers that were arriving at ports of

entry on the U.S.-Mexico border.

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MR. FENN:
MR. SAMPAT:
copy of the report. I'm

there is reading from it.

to it if that's okay with the counsel.

fine? So that way if people read fast --

MR. FENN: That's fine.

THE REPORTER: Thank you so much.

MR. FENN: I'm sorry to interrupt.

THE REPORTER: Very helpful. Thank
you.

MR. FENN: Are we still off the
record?

THE REPORTER: No. We're -- we've
been going.

MR. FENN: Oh, okay.

MR. SAMPAT: Oh, we have. I thought

that was off the record.
the record?

MR. FENN:
record for second?

MR. SAMPAT:

(Off the record)

Q. (BY MR. SAMPAT)

the record. Ms. Leutert,

Can we go off the record?
I agGn't Heed aii Sxtra
happy to give it to you if

That way, you can refer

Is that

Would you like to go off

Yeah,

can we go off the

Yeah.

All right. We're back on

you understand you're

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still under oath?

A. Yes.

Q. We have just made copies of Exhibit C that
was attached to your expert report, and that lists

all the materials that you considered in preparing

this report. Is that correct?
A. Yes.
Q. Okay. And before we went off the record

and took our break, we were talking about
Subparagraph A on Page 9 of your report, is that
correct, about the policy and practices of turning
back asylum seekers?
A, Yes.
Q. Can you define what you mean by policy?
MR. FENN: Go ahead.
THE WITNESS: By policy, I was
defining it as a written guidance throughout U.S.
customs and border protection.
Q. (BY MR. SAMPAT) And what written guidance

would that be?

A. Oh, I'm sorry. I'm sorry. That's what I
was thinking of -- well, yeah. No, actually, no, I
stand by that. Sorry. I got confused for a second.

A written guidance, and I was referring to the

April 2018 metering guidance that was issued by Todd

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Owen.

Qs Is there anything else that you mean when
you use the word "policy"?

A. I think just the general guidance and
musters that were being used -- that this was coming
from CBP leadership.

Q. So in order to make sure I am understanding
your testimony, when you talk about policy, you're
talking about the written guidance throughout CBP
that includes the metering guidance and the musters.

Is that correct?

A. There could be other documents. It's --
QO. Such as?
A. The musters -- there could be additional

guidance on metering that was issued or that was
related to.
QO. Do you recall what guidance?

MR. FENN: Object to the form.

THE WITNESS: That's more in the --
well -- not particular guidance on metering. It
would be the -- the main one would be the April 2018
guidance. I've seen from depositions that there are
other documents that were issued later that would
also be relevant.

Q. (BY MR. SAMPAT) And what depositions would

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that be?

A. Those would be the depositions of Todd Owen
and Randy Howe.

Q. So then is it -- it's fair to say, then,
that you haven't relied on all available
information. Correct?

MR. FENN: Objection; form.
THE WITNESS: T =

QO. (BY MR. SAMPAT) You can answer.

Pe I'm not sure that that -- those documents
were released at the time of my report. I did not

know about them until the deposition.

Q. Until your deposition?

A. No. I'm sorry. Until I read those
depositions.

Q. And when did you read those depositions?

A. I read them in the last week.

Q. Okay. Is there anything else you would

like to add to your definition of a policy? My
understanding is you're -- when you talk about
policy, you're talking about written guidance, and
when you talk about written guidance, you're talking
about the metering guidance from April 2018 musters
and addition -- any additional guidance that may

have come out regarding metering?

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A. It could also be verbal as well in the form
of guidance or musters. It could be verbal or
written guidance in standardizing a practice
throughout CBP. That's what I would say is a
policy.

Q. Have you recorded the verbal guidances
anywhere?

MR. FENN: Object to form.
THE WITNESS: No, I have not recorded
them myself.

G. (BY MR. SAMPAT) Have you gotten records of
them?

MR. FENN: Object to form.
THE WITNESS: I have read about them
in various depositions.

Q. (BY MR. SAMPAT) And what depositions are
we talking about?

A. I believe they were in the
deposition, and I can't remember if they were in
both or in one of the Todd Owens {sic} and Randy
Howe depositions.

Q. Okay. Can you define what you mean by
"oractice"?

A. Practice would be the act of turning

someone away. Generally, frequently any somewhat

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standardized form, perhaps, in the absence of that
written or verbal guidance that's clarified perhaps
from CBP leadership. So to explain in this context,
it appears that CBP began a practice of turning
people away, and then there was a policy issued
regarding metering in April of 2018.

It's possible they were also -- there
are -- I noted them in here. There were other
documents that outlined specifics, particularly in
various sectors leading up to that April 2018
guidance, but the April 2018 guidance was issued
from leadership to all ports -- to all field offices
across the border, so that's the distinction I was
making between those two words.

QO. So to -- to make sure I understand --

A. Uh-huh.

Q. -- your testimony, so practices is when CBP
began to regularly turn back --

MR. FENN: Objection; form.

G. (BY MR. SAMPAT) -- asylum seekers?

MR. FENN: Mischaracterizes the
witness's testimony.

THE WITNESS: When they began turning
people back across the border, in what became

regular, ina -- in a way where noncitizens

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continued to report similar characteristics of the

turn-back, that's how I -- I see it as becoming a
practice.
Q. (BY MR. SAMPAT) I'm not sure I understand
the final part of your -- of your testimony there.
A. Okay. I can restate it.

The practice of turn-backs the way
that I see it in my perspective based on the
documents that I reviewed and the testimonies is
that particularly in 2016 and 2017, I Have net
reviewed any overarching guidance from the direct
data at all ports of entry that was outlining the
metering practice.

But individuals were being turned pack
at ports of entry along the border and were
having -- reporting experiences in their testimonies
of these turn-backs that had many of the same
characteristics. Given the frequency of these
Similar testimonies, it began to appear that there
was a practice, that it was -- that CBP was turning
people back in a similar manner. That's the way
that I'm defining practice. The policy 1s when it
has a written and often verbal component of guidance
from leadership that is establishing that practice

as policy.

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Q. How frequent must something happen for it
to become a practice?

MR. FENN: Object to form.

THE WITNESS: More than once.

Q. (BY MR. SAMPAT) Twice?

MR. FENN: Objection.

THE WITNESS: It just has to happen
more than once. I don't have a specific number.

Q (BY MR. SAMPAT) If something happens five
times, is that a practice?

MR. FENN: Object to form.

THE WITNESS: I don't think I could
put a number, but it's if something 1s reoccurring,
so more than once.

Q. (BY MR. SAMPAT) So you -- you testified
just a little while ago saying that the turn-back
practice was defined because CBP began to do it with
some frequency. Is that correct?

Pe More than once.

Q. So do you know how frequently they were
doing it?

MR. FENN: Object.

Q. (BY MR. SAMPAT) That led to your opinion
that 1t was a practice?

MR. FENN: Same objection.

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THE WITNESS: I -- I have access to
some of the published testimonies, and I reviewed
documents that were reporting some of these
turn-backs even within -- within CBP structure. I
reviewed those. These are the ones that were
recorded. I'm sure there were others as well, but
there were multiple turn-backs beginning in 2016
that had similar characteristics.

0. (BY MR. SAMPAT) So, then, is it your
testimony that a practice of turn-backs occurred
after the first turn-back?

MR. FENN: Objection; calls for a
legal conclusion.

You can answer.

THE WITNESS: That is practice -- I'm
sorry -- practice -- after the first -- I think when
you have more than one turn-back and individuals
with similar characteristics are reporting that
Similar things were told to them or happen to them,
you begin to have a practice.

Q. (BY MR. SAMPAT) You begin -- what do you

mean by you begin to have a practice?

A. That's when the practice begins.
Q. tl oon
A. That's when you can start saying that there

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is a practice.
Q. So on the second individual, that would be

a practice?

MR. FENN: Objection; calls for a
legal conclusion.

You can answer.

THE WITNESS: I'm stating that it's
multiple. I -- I -- after one when you have

multiple turn-backs, you can start to say there is a

practice.
Q. (BY MR. SAMPAT) How many -- how many
practices -- how many individual turn-backs did you

look at in order to form the opinion that there was
a practice?

MR. FENN: Object to form.

THE WITNESS: What do you mean
turn-backs I looked at?

Q (BY MR. SAMPAT) So in preparing this
report, you opined that there was a practice of
turning back asylum seekers. Correct?

A. (Witness nods head).

Q. How many -- how many individual cases did
you review before you came to the conclusion that
there was a practice?

MR. FENN: Same objection.

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THE WITNESS: I genuinely couldn't put
a number on it. I cited some of the sources. I
reviewed the cases that were mentioned in the
documents that are -- that were produced during
discovery. I also reviewed cases that were in
public reports, and I also reviewed cases that were
in articles. And I had -- well, that's what I
reviewed for the report.

Q (BY MR. SAMPAT) Did you review ten cases?

MR. FENN: Object to form; asked and

answered.
THE WITNESS: I believe more.
Q. (BY MR. SAMPAT) 20°?
A. In what time frame?
Q. While you were preparing this report as you

were opining on that there is a practice --

A. The turn-backs under what time frame? As
when I believed it was -- when it -- I believed it
was a --

Q. A practice?

A A practice.

Q. Yes.

A Oh.

MR. FENN: Same objection.

THE WITNESS: I don't know, but it was

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quite a few because some of those reports have
many -- many cases of individuals who were turned
back from early 2016 through April 2018.
Q. (BY MR. SAMPAT) 30°

MR. FENN: Objection; asked and
answered.

THE WITNESS: I really couldn't give
you a number.

Q. (BY MR. SAMPAT) Okay. How do you define

turn-backs?

MR. FENN: Objection; calls for a
legal conclusion.

You can answer.

THE WITNESS: Turn-backs are
individuals who are seeking to access the U.S.
asylum system and are told at various geographic
points at times -- well, while it was a practice and
not a policy, so in the beginning, in 2016 to
April 2018, turn-backs would be CBP officers not
allowing that individual to seek asylum at the port
of entry when they sought to seek the asylum
system -- access to the asylum system and were not
allowed to seek that access and were such -- as such
returned to Mexico.

Q. (BY MR. SAMPAT) When you say "not allowed

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to seek access," what do you mean?

A, Were told various explanations.

Q. What various explanations were they told?
A, I believe I have that in my report.

Q. Is it potentially on Page 24?

A. Yes. Thank you.

Q. Uh-huh.

A. These -- these explanations include a

description such as we're not accepting any more

people, and we -- CBP wasn't receiving people from
Honduras.
Q. But these explanations weren't

standardized, correct, according to your report?

MR. FENN: Object to form.

THE WITNESS: According to the
testimonies in 2016 and 2017, the explanations
varied. There were multiple explanations for why
these individuals could not seek asylum.

Q. (BY MR. SAMPAT) Do you know why those
reasons varied?

MR. FENN: Object to form.

THE WITNESS: I could speculate.

Q. (BY MR. SAMPAT) I'm not going to ask you
to do that. For -- for the individuals that you

identify as being turned back, were any of them on

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U.S. soil?

A, According to the publically recorded
testimonies of individuals who were turned back, it
appears that, yes, some of the individuals were
turned back once they were on U.S. soil.

Q. So what documents did you rely on to inform
your opinion that there was a policy of turn-backs?
We have -- just to make sure I understand, we have
the metering guidance. Correct?

A. Uh-huh.

QO. Various musters. Correct?
A. For implementing the guidance.
Q. Any verbal guidance you may have come

across through other documents that are listed in
Exhibit C of your report. Correct?

A. Correct.

Q. And all of those documents that you
reviewed informed your opinion that there was a
policy of turn-backs?

A, Those documents combined with my field
research that the -- the metering was being
implemented in a uniform fashion by late 2018 across
all of the ports of entry that I visited and that my
colleagues visited for our December -- December 2018

metering report.

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QO. Are there any other documents that support
your -- your opinion of that there's a policy?

MR. FENN: Object to form.

THE WITNESS: There -- those are the
primary documents combined with the implementation
that I witnessed across the border through my
fieldwork.

Q. (BY MR. SAMPAT) Okay. What informs your
opinion that there's a practice of turn-backs?

MR. FENN: Object to form.

THE WITNESS: The testimonies that are
publically available, including the testimonies that
were within the documents that I reviewed and the
depositions as well when they were talking about the
origins of metering in the San Ysidro port of entry.

THE REPORTER: I'm sorry. In the...

THE WITNESS: San Ysidro port of entry
and across some of the nearby ports of entry.

Q. (BY MR. SAMPAT) And that was only in
DEE deposition?

MR. FENN: Objection; mischaracterizes
the witness's testimony.

THE WITNESS: No. I believe that
was -- I believe in all of the depositions they

talked about metering beginning in early 2016 in

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San Ysidro.
QO. (BY MR. SAMPAT) Just to be clear, but the
only deposition testimony you considered when

preparing this report --

A. Oh, I'm sorry.

Q. -- vas the

A Yes, yes.

Q. -- deposition. Correct?

A Yes.

QO. Okay. And what documents did you use to

support your theory that there is a practice of
turn-backs?

A, I used -- I used the -- some of the
articles and documents that are included in my
Footnotes and that are included in Exhibit C.

Q. Okay. Were there any other documents that

you did not list that were considered?

A, No.

Q Any field notes?

A. No.

Q Did you consider any field notes to support

your theory that there was a policy of turn-backs?
MR. FENN: Objection; asked and
answered.

THE WITNESS: No.

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Q. (BY MR. SAMPAT) How do you define
metering?

A. I define metering as the CBP's process of
turning individuals back at certain point -- at
certain -- turning people back at ports of entry.
In its current form, it includes individuals at the
limit line turning people back, and also includes a
decision on a certain number of individuals who will
be accepted into that port of entry on a daily
basis. The metering itself, the way it looks has
changed over time during that -- during the four
years in slight ways, particularly after the
April 2018 guidance.

Q. So before we move on to that, is it --
would I be -- would I be correct to say that the
turn-backs and the metering are basically one and
the same except we're talking about different time
periods?

MR. FENN: Object to form;
mischaracterizes the witnesses testimony and calls
for a legal conclusion.

THE WITNESS: I tend to see them as

parts of one another. It's combined into the same
policy.
Q. (BY MR. SAMPAT) Okay.

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Pe I tend to see turn-backs as the physical
turning back of an individual back to Mexico and not
accepting them in the moment they seek to access the
asylum system. Metering is -- in my perspective is
that turn-backs -- well, it's the deciding on the
number of individuals that will be processed every
day in conjunction with turn-backs.

Q. Okay. What informs your opinion that there
was a policy of metering?

A. My fieldwork that shows that there's a
standard uniform practice across ports of entry
along with reading the April 2018 guidance where the
guidance matched what I had seen at ports of entry
along the U.S.-Mexico border.

Q. Did you say a standard uniform practice

across the various ports of entry?

A. Yes.
Q: How do you know they were standard?
A. They were at least two -- often two CBP

officers stationed at the limit line providing
standard explanations to arriving noncitizens as to
why they could not access the U.S. asylum system at
that time.

Q. And what were those explanations?

A. That they were at capacity.

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QO. And how is that different from Page 24,
Paragraph No. -- Paragraph No. 45 in your report
where you talk about the explanations not being
standardized?

MR. FENN: Object to form.

THE WITNESS: At the time, I --
looking at the public testimonies from 2016 through
2017, they were -- they were turning people back and
not allowing them to -- CBP was turning people back
and not allowing noncitizens to access the asylum
system, but their explanations while having the same
practical consequence for noncitizens were
different -- involved different wording. My
experience since late 2018 onward -- since 2018
onward, the second half of 2018 onward, has been
that there are not different explanations, there's
one standard sentence which is that the port is at
capacity. There's very little variation in that
wording.

Q. (BY MR. SAMPAT) What documents support

your theory that there's a policy in metering?

A. The April 2018 metering guidance.
Q. Anything else?
A. There are -- there are documents that were

mentioned in the depositions that may support them,

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but I did not review them for this expert testimony.
Q. Anything else besides the metering guidance

and these other documents that you did not rely on?

A. Yes. I -- the deposition with J as
well. Also, I -- I'm sorry. I did forget to
mention earlier. The OIG reports -- the Office of

Inspector General, within CBP also makes reference
to metering and how it was standardized, I believe
both in the report that looks -- actually, I can
pull it up. Right here. It's both the -- the OIG
Peport that Looks at Tecate --

Q. Okay.

A, -- and then the OIG report that looks at
initial observations regarding family separation

issues under zero tolerance policy.

Q. Do you have a cite in the report?

A. Yes.

Q Did You Eid Le?

A. Yes ,

Q. Could you direct us to it, please?

A. Sure. I'm sorry. I just --

Q. No, no. That's perfectly all right.

A. 61, I believe it was. No, I lied. It's
60 -- I was lucky -- 55.

Q. 55. Okay. Okay. And you're looking at

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Footnote 131. Is that correct?

A, I am.

Q. Okay. So the metering guidance, OIG
report, JERR depositions -- ceposition.
Sorry.

A. Yes. And the -- I mean, I think the key

management reports as well, which are specifically
looking at data regarding metering.

Q. Okay. What -- what informs your opinion
that there was a practice of metering?

A, The -- there would -- first the testimonies
of individuals who returned back. The documents
that I reviewed, even in many of the e-mails, they
reference turn-backs. 9 testimony. I
believe in the Tecate OIG report they also reference
turn-backs in 2016, 2017.

Q. Okay.

A, It was pretty ubiquitous that people were
talking about the kind of earliest forms of metering
in San Ysidro, Nogales, and Mexicali, perhaps among
other ports, perhaps Tecate. In the -- in 2016 in
that -- this was a pretty common theme in a lot of
the documents that I reviewed.

Q. So you -- you mentioned testimonies of

individuals who were subject to metering. Correct?

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A. Yes ,

G. Were those individuals listed in Exhibit C
of your report?

MR. FENN: Object to form.

THE WITNESS: If it's located in the
footnotes on Pages 23 and 24.

Q. (BY MR. SAMPAT) And can you just state for
the record what footnotes you're looking at?

A, Absolutely. There are also in Exhibit C
within some of these -- some of the documents that
were produced in discovery also do mention that some
of these testimonies, the ones that were reviewed, I
believe, for further review by the Office of the
Inspector General, I believe that was the office --
so there were accounts within the documents I
reviewed where they were speaking about some of the
cases that had been identified in Footnote 46 --

Q. Okay.

A. -- 47 and 48 -- 47 and 48 are IBID.

THE REPORTER: 47 and 48 are?

THE WITNESS: IBID. They are
repetitions. But, again, these are -- these
testimonies are also in some of the documents that I
reviewed because some of the documents were internal

CBP discussions about some of these cases.

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QO. (BY MR. SAMPAT) How many individual
metering -- strike that.

How many individual instances of
metering did you review before you came to the
conclusion that there was a practice of metering?

MR. FENN: Objection; form, asked and
answered.

THE WITNESS: Are you speaking to a
specific time frame of metering cases within a
specific time frame?

C. (BY MR. SAMPAT) So your opinion is
about -- or you opine on that CBP has a metering
policy and practice. Right?

A. Yes.

Q. When -- what is your opinion regarding when
that practice of metering went into place?

MR. FENN: Object to form; calls fora
legal conclusion.

THE WITNESS: When it goes into place,
the -- I write on Page 17, Paragraph 38 on May 26,
2016, CBP implemented the first iteration of its
metering system in the San Ysidro port of entry in
San Diego.

Q. (BY MR. SAMPAT) So starting on May 26 in

2016 to present day, how many individual situations

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or circumstances of metering did you see -- did you
review in order to reach your opinion that you opine
on saying that there is a practice of metering?

MR. FENN: Object to form.

THE WITNESS: I -- I -- this is a
slightly complicated guestion. I'm not sure I fully
understand exactly what is being asked that I
reviewed. I've worked on metering research and
produced five reports of which -- which were used in
the creation of this report. And in creating those
five reports I met with hundreds of people who have
claimed to have been metered.

I also reviewed the cases that were
published online. I follow this issue quite
closely. And I have reviewed the -- reviewed the
published testimonies of individuals who were
metered or claimed to be turned back were metered in
2016, 2017, and have also reviewed CBP's documents
talking about these cases.

Q. (BY MR. SAMPAT) And just to make sure I
heard you clearly earlier, the only explanation you
considered in reaching your opinion that there was
turn-backs -- or sorry -- that there was metering at
the POEs is that they were at capacity?

MR. FENN: Object to form;

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mischaracterizes the witness's testimony.

THE WITNESS: Can yoll repeat that
question, please.

Q. (BY MR. SAMPAT) Sure.

The only explanation that you
considered in forming your opinion that there was a
practice of metering was that the POEs were at
capacity?

MR. FENN: Same objection.

THE WITNESS: The only explanation
that I considered for metering was that the ports

were at capacity?

Q. (BY MR. SAMPAT) Yes.

A. I don't think I -- I don't think I said
that.

Q. Okay. So -- and please correct me if I'm

wrong. You testified earlier saying that there was
a standard explanation as to why individuals were
being metered. Correct?
MR. FENN: Objection; form.
THE WITNESS: I understand what you're
referring to now.
Q. (BY MR. SAMPAT) Yeah. Yeah.
A. This -- which is along the lines of the

press release that was provided to us by CBP in late

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2018. You don't happen to actually have a copy of

my December report, do you?

QO. I do not.
A, I believe I -- I write the -- I think we
put in, perhaps, in full the -- what was provided to

us. The explanation that we had heard repeatedly
was -- included capacity but was not exclusive to
that. They talked about many things. But I did not

go in with one set idea for why this was occurring.

C My guestion is a little bit different.
A. Okay.
Q. Were there any other explanations that you

considered or didn't CBP provide any other

explanations as to why they were metering

individuals?
MR. FENN: Object to form.
THE WITNESS: While I was -- at what
pOLHE?
Q. (BY MR. SAMPAT) At any point that -- that

eventually made it into the expert report that you
have submitted in this case.

MR. FENN: Objection; asked and
answered.

THE WITNESS: I believe the primary

reason -- I'm sorry -- the primary explanation that

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had been provided was regarding at capacity. I'm
not -- it may not be the only there might be, but
that was the primary.

Q. (BY MR. SAMPAT) So was there any
consideration regarding the diversion and staffing
of resources for other -- for CBP purposes?

MR. FENN: Objection; form.
THE REPORTER: For other?

MR. SAMPAT: CBP purposes.
MR. FENN: Object to form.

THE WITNESS: Can you repeat the

question?
Q. (BY MR. SAMPAT) Sure.
A. If that was something I considered?
Q. Yes. So if -- did you consider CBP not

being able to process somebody for asylum because
there was a staffing issue for illegal narcotics
that had just come across the border?

A. So I believe that was -- so I -- I believe
that is outside the scope of what I was specifically
asked to analyze in the report.

Q. Okay. Okay. Just to be clear about your
report, you have not concluded that there is a
policy of using coercion to withdraw applications

for admission. Is that correct?

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MR. FENN: Object to form;
Mischaracterizes the witness's testimony.

THE WITNESS: How do you define
"coercion"?

Q. (BY MR. SAMPAT) That CBP officers have --
have used guestionable tactics or certain tactics to
have individuals withdraw their applications?

A. I have seen -- I have seen testimonies of
individuals who make those allegations. I have not
seen a written document that outlines that that
should be official CBP practice.

Q. po oo

A. Or policy.

Q. Right. And so have you concluded there's
any practice of using coercion?

MR. FENN: Same objection.
THE WITNESS: There are allegations.
I have seen allegations of that. It is not

something that I discuss in my report.

Q. (BY MR. SAMPAT) So you don't conclude that
in your report. Correct?
A. I don't discuss it in my report. It seemed

outside the scope of exactly what I was supposed to
be discussing.

Q. Okay. You have not concluded that there

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was a policy of using threats or intimidation to
prevent people from entering. Is that correct?

MR. FENN: Object to form.
Mischaracterizes the witness's testimony.

THE WITNESS: I'm sorry. Can you
repeat that again?

Q. (BY MR. SAMPAT) Sure x

In your report, you don't conclude
that there's a policy or practice of using threats
or -- and intimidation to prevent people from
entering. Is that correct?

MR. FENN: Same objection.

THE WITNESS: I am not stating one way
or the other. It is not something that I cover in
my report.

Q. (BY MR. SAMPAT) So it's not written in
your report as an opinion you are proffering for
this case right now?

A, It was outside the scope -- I believe it to
be outside the scope of the question I was asked to
answer.

Q. Okay. You have not concluded that there's
a policy of returning asylum seekers to Mexico after
they're on U.S. soil. Correct?

MR. FENN: Same objection.

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THE WITNESS: I believe there was a
practice in 2016 and 2017, given the areas where
individuals were reporting that they made contact
with CBP officials and given that CBP officials were

not stationed yet at the limit line.

Can you repeat -- I'm sorry -- the
question?
Q. (BY MR. SAMPAT) Sure.
The -- my question only pertains to a

policy of it, right, so that you have not concluded
there was a policy of returning asylum seekers to
Mexico after they were on U.S. soil?

MR. FENN: Object to the form.

THE WITNESS: I have not seen written
guidance that would be requiring individuals who
were on U.S. soil to be returned. I have not seen
that. There were cases before that policy -- that
policy was issued in April 2018 between early 2016
and April of 2018 when that guidance had not yet
been issued.

Q. (BY MR. SAMPAT) Are you talking about the

metering guidance?

A. Yes.
QO. From April of 2018, Todd Owen's metering
guidance?

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A. Yes.
Q. Okay.
A. The -- before that, there does appear to be

a practice that asylum seekers would routinely,

perhaps in all cases, enter U.S. territory

between -- before being turned back.
Q. What evidence did you consider in reaching
that -- actually, strike that.

Is that an opinion you actually offer
in your report?

MR. FENN: Object to form.

THE WITNESS: Yes. Page 22,
Paragraph 44, during these initial turn-backs. And
I'm referring to that of between May 2016 and April
2018.

Q. (BY MR. SAMPAT) Okay.

A. Asylum seekers arriving at U.S. ports of
entry would generally cross into U.S. territory
before CBP officials told them that they had to
return to Mexico.

Q. So that states -- and -- individual
instances of individuals being turned back.
Correct?

MR. FENN: Objection; calls for a

legal conclusion.

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QC. (BY MR. SAMPAT) Strike that.

That sentence refers to individual
cases of asylum seekers being told to return to
Mexico after they had crossed on U.S. soil.

Correct?

MR. FENN: Objection; calls fora
legal conclusion.

THE WITNESS: Given that CBP officials
were not yet given guidance to stand at the limit
line, it appears that -- and to stop people from
entering into U.S. territory, it would appear that
individuals who were seeking asylum -- all
individuals who were seeking asylum during that time
period would have entered into U.S. port of entry if
they were turned back -- I'm sorry -- U.S. territory
if they were turned back.

Q. (BY MR. SAMPAT) So I'd like to focus on
Pages 9 through 13 of your report. Is there
anywhere in that section where you talked about --
where you talk about you have reached the following
conclusions. Is there anywhere in that section that
you talk about a practice of returning asylum
seekers to Mexico after they had already returned
on -- after they were already on U.S. soil?

MR. FENN: Object to form.

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THE WITNESS: Do you mind if I review?

QO. (BY MR. SAMPAT) No. Please.

A. So CBP's turning back of individuals --
actually, can you repeat your question so I can try
to answer better?

Q. sure.

Is there any part under Paragraph 23
in which you offer the opinion that there was a
practice of returning asylum seekers to Mexico after
they had already come on to U.S. soil?

MR. FENN: Object to form.

THE WITNESS: I do not write those

words in Paragraph 23 from Pages 9 through 13 -- or,
I'm sorry -- 12 -- the end of Page 12.

Q. (BY MR. SAMPAT) Okay. And what was the
page number again that -- where you discussed
those --

A. 22;

QO. Page 22. Okay.

What evidence did you cite to in your
report to support the statement that there was a --
that individuals were being turned back after they
entered on U.S. soil?

A, Well, on Table 1 on Page 23, I looked at a

few examples in different cities of first publicly

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recorded turn-backs and then I noted down the
location of each turn-back, whether it was in a port
of entry entry hall or the U.S. side of the national
bridge, and this was gleaned from their testimonies.
I didn't just take these testimonies, though, on
face value. I also, again, was using my
understanding that CBP officers were not uniformly
stationed at the limit line during this period, that
that had occurred after April 2018, which means
that -- that noncitizens that were seeking to access
the U.S. asylum system during this period would
likely have had to enter into U.S. territory to have
contact with a CBP officer.
I also quote on Page 23 that in

December 2016, large groups of Cubans arrived at the
Brownsville and Hildago points of entry. And then I
noted that photos and video footage show the Cubans
entering and lining up in U.S. territory on the
Hidalgo international bridge. So there was some
photos and videos of Cubans who were in U.S.
territory at that time.

Q. Okay. You have not concluded that there is
a policy or was a policy about the availability of
asylum in the United States. Correct?

MR. FENN: Objection to form;

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misstates the witness's testimony.

Q. (BY MR. SAMPAT) Sorry. Strike that. Let
me rephrase the question.

You have not concluded that there was
a policy of lying about the availability of asylum
in the United States. Correct?

A. I did not attempt to answer that question.

Q. So is it fair to say you didn't attempt to
answer the question of whether there was a practice
Gf LE?

MR. FENN: Object to form.

THE WITNESS: That -- my -- I was
focusing on the question that plaintiffs' counsel
asked me to answer.

QO. (BY MR. SAMPAT) Which did not include as
to whether or not there was a practice of
individuals lying about the availability of asylum
in the United States?

A, That was outside the scope of the question
I was asked to address.

Q. Okay. You have not concluded that there is
or was a policy of using physical force to block
access to ports of entry. Correct?

MR. FENN: Objection; form.

THE WITNESS: That was outside the

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scope of the question I was asked to address.

Q. (BY MR. SAMPAT) How about a practice of
using physical force to block access to ports of
entry?

A, That was outside the question that I was

asked to address.

Q. One second.

A Okay.

QO. So then the answer is no. Correct?

A I'ti. not Stating that. I'm Just stating

that I offer no opinion on that.
Q. Okay. And -- but in that -- there is no

opinion in this report reflecting that. Correct?

A. It was not the question that I set out to
answer.
Q. And there was -- there's no opinion in your

report regarding individuals lying about the

availability of asylum in the United States.

Correct?
MR. FENN: Objection; asked and
answered.
THE WITNESS: I mention cases where --
Q. (BY MR. SAMPAT) Sorry. Let me rephrase.

There's nothing in your report

regarding a policy or practice of individuals lying

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about availability of asylum in the United States?

A, I did not seek to answer that question.

Q. Okay. Okay.

MR. SAMPAT: It's 12:30. Are you guys
thinking lunch?

MR. FENN: Is this off the record?

MR. SAMPAT: Can we go off the record?
Sorry.

(Off the record)

Q. (BY MR. SAMPAT) Ms. Leutert, do you
understand you're still under oath?

A. Yes.

Q. I'd like to move on to talk about the
methodology you used in preparing your expert report
that you submitted in Al Otro Lada versus Wolf. You
mentioned that Exhibit C of your report reflects the
documents that you relied on to prepare this report
at this time. Is that correct?

A. Yes ,

Qs And there's a bunch of documents that
you've referred to in Bates stamp as provided by

defendants during the course of discovery. Is that

correct?
A, Yes.
Q. And is it fair to say many of them were the

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MCAT reports and queue management reports that we've
been discussing throughout the course of the
deposition?
MR. FENN: Object to form.
THE WITNESS: Which reports? Can you
just restate --
QO. (BY MR. SAMPAT) The MCAT and the queue
management reports.
A, Yes.
QO. So what did the MCAT reports show?
MR. FENN: Object to form.
THE WITNESS: What did they include in
each one?
QO. (BY MR. SAMPAT) What were the -- what were
the different data points that they provided?
MR. FENN: Object to form.
THE WITNESS: They would have
provided -- they would have provided the number of
individuals who were detained at each port of entry.
They would have provided a detention capacity for
each port of entry and the percent capacity filled
at each port of entry among other data points.
Those were not the only data points that were
included in those reports.

Q. (BY MR. SAMPAT) Do you recall what other

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data points were included?

A, There was a lot of points on the ports of
entry for border patrol. They had ERO numbers.
They were ready for removal on some of them. I
believe in later ones they had time in custody.
There was a different range of data points that they
included.

Q. Okay. When you mentioned that the three --
the first three points you discussed --

Pe DH-HUA ,

Q. -- which is detention, detention capacity,
and percent capacity.

A, Yes.

Q. Those were numbers that provided -- that
were provided by CBP. Correct?

A. They are numbers that were in the MCAT
reports that are created and -- created by CBP and
were provided by CBP.

Q. So it would be the detention capacity that
CBP has at a given port of entry at that time.

A. It would be the number of individuals they
have detained, the detention capacity, and the
percent detention capacity was filled at any given
point, yes.

Q. Okay. And what did the queue management

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report show?
MR. FENN: Object to form.

THE WITNESS: The queue management

reports -- again, this is from my memory.

Q. (BY MR. SAMPAT) Uh-huh.

A. Would have had the numbers of individuals
detained. They would have had -- so similar to the
MCAT. They did not include the -- no. They did not
include the capacity -- the detention capacity for

each port. But they did include the percent
capacity full or filled. So it was -- it was
possible to, at times, deduce the detention
capacity, given that you had the number of
individuals detained and the number of -- and the
percent capacity that was filled at each port of
entry.

There also was the number of
individuals who were waiting at the limit line, and
there was a box that asked about effects on port
operations. There may have been other variables
that were mentioned that I didn't name, and it's
just from my memory.

Q. Okay. Okay. So when you talked -- when
you're discussing the fact that it was easy to

deduce what the capacity may have been at a specific

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pore —=
MR. FENN: I'm sorry. Go ahead.

QO. (BY MR. SAMPAT) You -- is it fair to say
that if a port of entry had 80 individuals in
detention and documented it as 80 percent full, then
you could deduce that there was a hundred -- the
capacity to hold a hundred detainees?

MR. FENN: Object to form;
mischaracterizes the witness's testimony.

THE WITNESS: Queue management data
did not include detention capacity for ports of

entry. MCAT data did.

Q. (BY MR. SAMPAT) Okay.
A. I generally used MCAT data since it was
dated. I would -- I did, however, compare it to

queue management data to see if they were roughly
the same, and they were. That's when I tried to
make that deduction. So I was still able to figure
out -- and, yes, using the method that you
described, but that's generally not what I used. I
used MCAT as stated capacity because it was
explicitly stated in the MCAT reports.

Q. So when you say you generally relied on the
MCAT reports, can you give a percentage as to how

much you relied on them in preparing your report?

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MR. FENN: Object to form. I
didn't -- I did not generally rely on the MCAT
reports. I generally relied on them for that
specific variable of percent capacity filled at each
port of entry.

Q. (BY MR. SAMPAT) Okay. So in that case,
how -- can you give a percentage as to how much you
relied on the MCAT reports to prepare your expert
report in this case?

MR. FENN: Object to form.
THE WITNESS: Quite heavily, because
they had -- I reviewed 547 MCAT reports -- unique

MCAT reports. This is Page 63 in the exhibits,

Table 7.
QO. (BY MR. SAMPAT) Page 63, you said?
A, Yes.
Q. Okay.
A, I reviewed 547 MCAT daily reports and 314

queue management reports. The MCAT reports had a
longer date range, so that's the times where I used
it. It began in -- on November 30th, 2016 --
Q. Uh-huh.
-- and went through June -- I'm sorry --
July 13th, 2019. So for certain questions, I looked
at the MCAT daily reports, given the date range, and

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for others, I used the field queue -- or the queue
management reports because they had more -- it was
318 reports, but they were in a shorter time period,
and it had unique information that was not included
in MCAT such as the number of individuals waiting at
the limit line. So I used both. I don't know which
percent, but throughout the report I used both.

Q. So fair to say you relied on the MCAT
reports more than the queue management reports?

Pe No. I relied on both of them in different
ways throughout the report. I -- I couldn't tell
you a percent that I -- I used. I would say it's
about equal. I used both reports --

Q. Equal?

A, -- in different ways throughout, but I
don't know what percent I would have assigned to
each, but I used them both throughout quite a bit.

Q And your testimony is that you relied on --
relied on both reports -- sorry. Strike that.

You relied on the MCAT reports guite
heavily. Correct?

A. On the MCAT and the queue management quite
heavily, both.

Q. Okay. I just want to talk about something

you mentioned regarding the queue management

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reports. You said they also reflected the variables
affecting port operations. Is that correct?

A. There was a variable. I don't know if you
have a copy I could point to, but there was a
variable. It's the last one on the right, and it
would say something about effect on port operations,
and there would be written in an answer for the

different ports of entry.

QO. Do you recall any answers that were
written?
A, Yes. Most of the time it would say no

effect to port operations except in Eagle Pass where
there was almost constantly something written about
an effect to operations.

Q. When talking about the MCAT daily reports,
do you know if the reports reflected physical
capacity or operational capacity?

MR. FENN: Object to form.
THE WITNESS: They were referring to
physical capacity.

Q. (BY MR. SAMPAT) Do you know what
operational capacity is?

A. I do.

Q. What is your understanding of what

operational capacity is?

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A, Physical -- well, I'm going to state it
in -- to differentiate it from physical capacity.

Q. sure.

A, Physical capacity being the number of

individuals who could be inside of a physical space,
perhaps the physical limit of that space, and
operational capacity being the other factors that
might influence the number of individuals within
that port of entry or who could be processed within

that port of entry since its operational.

Q. And do you know what other factors that may
be?
A. Other factors for what?
Q. When determining operational capacity.
MR. FENN: Object to the form.
THE WITNESS: Can you restate the
question?
Q (BY MR. SAMPAT) So you said the
difference -- physical capacity is how much a
port -- how many individuals a port of entry can

hold physically. Is that correct?

A. Correct.

Q. And operational capacity is a port of
entry's ability to process and detain asylum

seekers, depending on various other factors. Is

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that e6rrecl?

A. Correct.

Q. So do you know what other factors go into
determining what a port of entry's operational

capacity is?

A. I can list some. Is that what you're
asking?

Q. Yeah, that would be great.

A. Well, there are factors that can
increase -- I'm sorry -- decrease or increase

operational capacity. For decrease, some of the
factors that I know have been listed have been the
demographics at times of the individuals -- well, I
can just read what I wrote. Why reinvent?

Q. Sure. And if you could direct us to the
page number you're referring, that could be great,
too.

A, Let's see. Okay. I wrote, "Certain groups
of asylum seekers or individuals may need to be held
in distinct areas," which would limit capacity. I
also pointed to changes in port infrastructure,
which could decrease capacity. I also mentioned,
however, that there are possibilities to increase
capacity, that there could be different allocations

of personnel, of resources, and also changes to port

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infrastructure could increase capacity.

G. And you're looking at Page 30?

A. Oh, I'm so sorry. Yeah. 39, yeah.

Q. Okay. And this is Paragraph 61?

A, It is Paragraph 61.

Q. Are you aware of any other factors that
can -- that affect operational capacity?

MR. FENN: Object to the form.

THE WITNESS: There's a wide range of
factors that could happen at a port of entry that
could affect capacity. You can come up with lots of
hypothetical situations that could decrease
capacity. They are also listed in some of the
port -- I'm sorry -- not the port -- the contingency
planning documents, different ways to increase
capacity. So there's -- there's a lot of different
scenarios out there for affecting operational
capacity .

Q. (BY MR. SAMPAT) But the MCAT reports don't
rellect Operational capacity. IS that correct?

A. They do not.

Q. How about the queue management reports; do
they -- do they show physical capacity or
operational capacity?

MR. FENN: Object to form.

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THE WITNESS: They do not show -- they
do not have a variable that is stated capacity
percentages -- I'm sorry -- stated capacity numbers.
They do have the variable of capacity filled, which
I have interpreted, and I believe, given its
Similarity to MCAT numbers as being at physical
capacity.

Q. (BY MR. SAMPAT) And in regards to the
contingency plan at various ports --

Pe DA-HuA ,

Q. -- when they talk about increasing or
decreasing capacity, do they discuss actual or
operational capacity?

MR. FENN: Object to form.

THE WITNESS: On Page 47 in my report,
I discuss some of this or one example of the reports

that I'm referring to.

Q (BY MR. SAMPAT) Okay.

A. Paragraph 71.

Q Okay.

A. The integrated concept of operations

report, which I write was created for the southern
California region to lay out a plan for addressing
an arriving refugee caravan.

QO. Uh-huh.

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A, I note some of the steps that it outlines
for increasing capacity, which are to transfer
individuals from CBP custody --

THE REPORTER: I'm sorry? Which
custody?

THE WITNESS: CBP.

THE REPORTER: Thank you.

THE WITNESS: And I interpret that as
being created to allow processing capacities to
accelerate and match higher than normal migration
numbers. Oh, I'm sorry. And then later on in 72, I
talk a little bit more about the stages of what that
looks like. I interpreted this as being --

increasing operational capacity, not physical

capacity.
Q. (BY MR. SAMPAT) So in these -- in these
reports, were there -- were there indicators as to

when operational capacity would need to be increased
or decreased?
MR. FENN: Object to form.
THE WITNESS: Within which reports?
Q. (BY MR. SAMPAT) The contingency plan
reports or the DHS integrated concept of operations
report you refer to in your expert report.

A. And the question is if it contained what

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exactly? Sorry.

Q. Did it contain any indication as to when a
port of entry should increase or decrease
operational capacity?

MR. FENN: Object to form.

THE WITNESS: I believe if it wasn't
this one and others, there were triggers, but I
would have to confirm by looking at the document
again.

Q. (BY MR. SAMPAT) Okay. Do you believe it's
important to know the difference between physical
capacity and operational capacity?

MR. FENN: Object to the form.
THE WITNESS: Me personally knowing or
for what exactly?

Q. (BY MR. SAMPAT) In providing your opinion
in this case, do you think it's important to know
the difference between the two?

MR. FENN: Object to form.
THE WITNESS: The dictionary
difference?

QO. (BY MR. SAMPAT) Or how we've defined -- how
you've defined it in your testimony here today.

A, Well, they are referring -- by nature

physical capacity and operational capacity are

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different concepts, so it's important to make that

distinction.
Q. I'm sorry. I missed the last part.
A, Oh, sorry. So I think it's important to

make that distinction.

Q. Uh-huh. Why is it important?

MR. FENN: Object to the form.

THE WITNESS: Because there are two
different concepts. I think particularly in this
case, I know from reading the depositions, the
focus -- there's a lot of focus on operational
capacity. In the MCAT, the only data that's
provided is detention capacity. I think
understanding how people are talking about this is
important. And I feel like I try to note throughout
some of the differences and to make that
distinction.

Q. (BY MR. SAMPAT) Were there reports that
you reviewed in preparing your expert report in this
case that reflected the operational capacity of a
port of entry at a given point in time?

A. By reports do you mean the documents that
were provided in discovery?

Q. Yes.

A. I'm sorry. But by operational capacity,

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you're referring to what specifically in those
documents?

Q. Was -- were there any reports that you
reviewed in preparing your report that reflected
operational capacity? So that said, this is how
many individuals we can process or take into custody
today, given other constraints.

MR. FENN: Object to form.

THE WITNESS: The majority of the
documents that I did review were the MCAT and queue
management, which I was under the -- I am under the
impression that those are the documents that CBP
uses in its own determinations, and those do not
reflect operational capacity.

Q. (BY MR. SAMPAT) Okay. Is there
information that you came across during the course
of reviewing documents in preparing your report that
you disregarded?

MR. FENN: Object to form.

THE WITNESS: I did not disregard
anything. I've read everything and put it into a
complete picture, given all of the documents that I
had available to me.

Q. (BY MR. SAMPAT) Are there data points or

are there reports that you reviewed that you

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considered to be less important?

MR. FENN: Object to form.

THE WITNESS: No. I think everything
helped me understand what was happening at the
U.S.-Mexico border within ports of entry.

Q. (BY MR. SAMPAT) And that was by relying
quite heavily on the MCAT and the queue management
reports. Correct?

A, And -- sorry. Because you said you -- can

you just repeat that? I think also repeating what I

said.

Q. sure.

A. Uh-huh.

Q. In regards to my question --

A. Uh-huh.

Q. -- being that is there questions that
you -- are there data points or reports that you

consider to be unimportant. You said no. Is that
COLESOL?

A. There are data points that I used more than
others. For example, within the MCAT, I did not use
the border patrol data.

Q. Okay.

A. Because it did not seem as relevant for

answering the specific question at hand. However, I

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did review all of the documents to try to get a full
understanding. I did not dismiss any documents out
of hand.

Q. In terms of the weight of importance you
gave certain documents versus others?

MR. FENN: Object to form.

THE WITNESS: No. I think I took them
all into consideration. I tried to answer the
question that I was asked to answer.

Q. (BY MR. SAMPAT) And you answered that
question by relying quite heavily, as per your
testimony, on the MCAT and queue management reports.
Correct?

A. There is no database on operational
capacity that I could have used.

Q. Okay. And to reach your -- the opinions
you provide in this case, you mentioned you used a

common method. Is that correct?

Pe Is that a direct quote from my report?

QO. I believe it is.

A. What page is that?

Q. So you discuss common method on Page 12
starting at -- starting in Paragraph H, this common
methodology.

A. Yes.

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QO. Can you -- can you describe what you mean
by this -- by common methodology?
MR. FENN: Object to form.
THE WITNESS: Yes, I can. What I mean

by common methodology --

Q. (BY MR. SAMPAT) Yes.
A. -- is that I could use a dataset that
through time and space -- so across multiple years

and across multiple ports of entry along the
U.S.-Mexico border, I could look at the same
information and to -- discern patterns or -- well,

pretty much patterns. That's what I mean by common

methodology.
Q. So in order -- to make sure I understand
your -- the methodology, you took MCAT and queue

management reports --
A. Uh-huh.
Q -- that were provided to you for various

ports of entry. Is that correct?

A, Yes.

Q. And you compiled that data together?

A, Yes.

Q. And then created a dataset that allows you

to make an opinion about CBP's patterns and

practices across the entire border?

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MR. FENN: Object to form;
mischaracterizes the witness's testimony.

THE WITNESS: I went through the MCAT
data. I identified within the reports what I
thought would be relevant to addressing the question
that I was asked to address. I had put it into an
Excel spreadsheet and then analyzed the outcome.
And what you see in the report is the presentation
of some of that outcome.

Q. (BY MR. SAMPAT) And in using this common
method, you primarily relied on the queue
management -- queue management reports, the MCAT
reports, and the contingency plans. Correct?

MR. FENN: Object to form,
mischaracterizes the witness's testimony.

THE WITNESS: I -- in this common
methodology, I used the queue management data and
the MCAT reports.

C (BY MR. SAMPAT) You did not consider the
contingency plans?

A. I considered the contingency plans in the

report itself.

Q. Yes.
A, But in the Excel spreadsheet, I did not.
Q. Okay. So -- so, then, the data that you

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were looking at reflected actual capacity?
MR. FENN: Object to form.
Q. (BY MR. SAMPAT) Correct?
A. I was using the MCAT reports and queue

management reports.

Q. Okay. Who else uses the common methodology
report?

A. CBP,

Q And what is that based on?

Pe Oh, what -- the common methodology report,
you mean --

Q. Sorry. Let me rephrase the question.

Who else uses the common methodology
approach that you employed in providing your expert
opinion in this case?

A, Well, in one of the documents that I
reviewed, CBP also used something similar in looking

at queue management across ports of entry.

Q. Do you recall which document that was?
A, Let me find it for you.

Q. sure.

A. I cite it on Page 44.

Q. Give me one moment.

A, That's fine.

Q. You said 44?

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A. Yes.
Os Okay.
A. The Bates number on the document I'm

referring to is at the bottom of Footnote 103.

Q. So you're talking about a document Bates
stamped AOL-DEF-00210504?

A. Yes.

Q. Okay. Were you asked to use this approach

by anyone?

A. No.
MR. FENN: Object to form.
THE WITNESS: No.
Q. (BY MR. SAMPAT) Has this method been used

before other than by you or what you claim that CBP
did in -- in the referred-to document?
MR. FENN: Object to form.
THE WITNESS: I'm sure.
Q. (BY MR. SAMPAT) Are you aware of
circumstances in which it's been used?
A. By method, do you mean collecting this
information and analyzing it?
Q. Yes. In the manner in which you did to
prepare this report.
A. Specifically MCAT and queue management or

any document of this type?

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GC; MCAT and queue management.

A, Oh, CBP may have done it internally like
they did in this document, but this isn't public
information, and so it could not have been analyzed
by anyone outside of CBP.

Q. So, then, 1s it fair to say that the method
that you employed for this -- in order to prepare
this report has not been subject to peer review?

MR. FENN: Object to form.

THE WITNESS: I -- I'm not allowed to
use -- I wouldn't be allowed to use this data nor
would anyone else because it's classified, and so it
would be impossible to have it peer reviewed.

Q. (BY MR. SAMPAT) How about the method

itself of just compiling data in other forms?

A, I'm sure that could pass a peer-review
standard. It's pretty common practice.
Q. Has anything regarding CBP's numbers at

ports of entry been published before?
MR. FENN: Object to form.
Q. (BY MR. SAMPAT) I'm sorry. Let me
rephrase the question.
Has CBP's detention numbers in this
form using MCAT and queue management reports been

published before --

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MR. FENN: Object.

Q (BY MR. SAMPAT) -- publically?

A To the best of my knowledge, no.

Q. Are you aware of -- sorry.

A No.

Q Is there something you wanted to say?

A. No. I'm sorry. I was going to make a
clarification, but I --

Q. Please. Go right ahead.

A, But I think that my clarification was

wrong, so it's --

Q. Okay.
A. Thank you.
Q. Is -- are you aware of what potential error

rate the methodology you used may pose for other

experts --
MR. FENN: Object to form.
QO. (BY MR. SAMPAT) -- that use the same
method?
A, I do note that -- so in Footnote 103 --
Q. Okay.
A. -- in the second sentence, I write,

"Similar to CBP, I also discovered multiple errors
in CBP's capacity percentages, which often stated a

hundred percent capacity despite reporting low

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numbers of individuals in custody."

So that is something that is written
in that document that the person in CBP who did
similar analysis found errors. I found those same
errors. There are potentially several errors within
that dataset. I did not attempt to fix those
errors. I kept the CBP data as it was written.

Q. Do you know how many errors you found? Do
you recall?

A. I don't have an exact number. In the
dataset that I provided along with my expert report
in the key management data, these sales that are
highlighted yellow are the errors.

Q. Okay. Have you -- have you ever been an
expert witness before?

A, I have not.

Q. Okay. When it comes to the MCAT reports,
right, would you agree that it provides a snapshot
of what's going on at a port of entry?

MR. FENN: Object to form.

THE WITNESS: I actually believe in
one of the depositions -- one of -- either Todd Owen
or Randy Howe might have used that exact word or
agreed to it, but -- and so I would -- I would trust

their judgment since they would be the ones who

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would be using it in an operational capacity.

Q. (BY MR. SAMPAT) Okay. Do you know whether
ports of entry had the flexibility to implement key
management as needed?

MR. FENN: Object to form.

THE WITNESS: What do you mean? Sorry

to get -- what do you mean by "had the flexibility"?
OQ. (BY MR. SAMPAT) So are you aware that
ports of entry were provided -- were allowed to

implement queue management as needed depending on

their operational constraints at a given time?

A. What time frame are we talking about?
oO. Let's talk about from -- starting at the
beginning in 2016 -- or sorry -- the metering

guidance came out in April 2018. Correct? So let's
talk from April 2018 to today.
A. I believe -- do you have a copy of that

guidance? And I could quote it back.

QO. I @@EUaLLY dé noL,

A No?

Q. No.

A Okay. I think I quoted it. I might not

have quoted that exact line. I don't remember the
exact language. I know that document is the one

that would have stated language to that -- on that

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issue, but I don't have it in front of me, and I
don't remember the exact language that was used.
Q. That's okay. Did that -- did that language
play a role in reaching your conclusion?
MR. FENN: Object to the form.
THE WITNESS: Which language exactly?
Q. (BY MR. SAMPAT) About the -- the -- about

ports of entry having flexibility to implement queue

management.

A. I took everything in that memo into
consideration. I used -- I based my information --
or I -- what I also took into consideration along

with that memo was my own fieldwork that showed that
it was being implemented uniformly in that time
period across all the ports of entry that I visited
and also CBP's own internal document that noted that
key management was in place by -- I think it was
June of 2018 in every port of entry except Calexico
West, which was noted that it was redirecting.

Q. And are you aware of time periods when
queue management was not being implemented at a port
of entry?

A. From April 2018 onward?

Q. From -- let's start before that. Let's go

from 2016 onward.

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A. Queue management was not implemented
uniformly across the entire border until April 2018.
Q. So then after April 2018, are you aware
of -- of a time when queue management was not being

implemented at an individual port of entry?

A. By queue management, do we also mean the --
by queue management, can you explain actually all
the different activities that you're including in
that?

Q. We were talking about metering. We're

talking about individuals being told that we're at

capacity.

A. And individuals stationed at the limit
line?

Q. Yes.

A. Then I don't -- I don't know of any cases

where individuals were removed from the limit line
during that period,

GC; Are you aware where ports of entry were
processing the asylum seekers as they were coming to
the limit line?

MR. FENN: Object to form.

Q. (BY MR. SAMPAT) Rather than redirecting
them?
A. Do I personally know those cases? No.

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QO. Okay.

MR. SAMPAT: Can we take five minutes?
MR. FENN: Sure.

(Off the record)

(Exhibit No. 3 marked)

Q. (BY MR. SAMPAT) Ms. Leutert, you've just
been handed a document that's been marked Exhibit 3,
and that is Bates stamped AOL-DEF-00273294. Have
you seen this document before?

A, I believe this is one of the documents.
Actually, let me just -- yeah -- yeah, I believe
this is one of the documents -- no -- that -- that I
read about in the -- in the depositions after I
submitted my expert report.

Q. So is it fair to say that you did not rely
on this document when preparing your report because
it's not listed in Exhibit C?

A, It was not available to me at the time, so,
no, I did not rely on it.

Q. Can you turn to the third and last page in
the document?

A. (Witness complies).

Q. And -- and you'll see that the document
lists the order in which CBP prioritizes their

staffing and operations. It's just a numerical list

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right there. Can you please read them over and let
me know when you're done?

A. Sure. Okay. I'm done.

Q. So in the methodology you employed to
prepare your expert report in this case, did your
methodology consider how OFO makes staffing
decisions to protect against national security
threats?

MR. FENN: Object to form.
THE WITNESS: That was beyond the
scope of what I was asked to write about.

Q. (BY MR. SAMPAT) Did your methodology
consider what other resources and staffing may need
to be allocated to address national security
threats?

MR. FENN: Object to form.
THE WITNESS: That was also beyond the
scope of what I was asked to talk about.

QO. (BY MR. SAMPAT) Do you agree that the U.S.
government should expend resources to identify
national security threats?

MR. FENN: Object to form. Are you
asking about in her capacity as an expert or
personally?

MR. SAMPAT: Yes. As an expert.

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THE WITNESS: Can you repeat the
question?

Q. (BY MR. SAMPAT) Do you agree that the U.S.
government should expend resources to identify
national security threats?

MR. FENN: Same objection.

THE WITNESS: Speaking as the expert

in -- speaking as in my personal capacity?
Q. (BY MR. SAMPAT) No.
A. As an expert?
Q. In the capacity in which you are providing

a report, an expert report in this case?

A. Yes, they should expend resources to
identify national security threats.

Q. Did your methodology consider how OFO makes
staffing decisions to run counter narcotics
operations?

MR. FENN: Object to form.
THE WITNESS: That was beyond the
scope of what I was asked to address.

Q. (BY MR. SAMPAT) Did your methodology
consider how resources and staffing may need to be
allocated to run counter narcotics operations?

MR. FENN: Objection; form.

THE WITNESS: That was beyond the

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scope of what I was asked to address.

G. (BY MR. SAMPAT) Do you agree that the U.S.
government should expend resources to run narcotics
operations?

MR. FENN: Object to the form.

THE WITNESS: I -- yes. I do believe
that expending some resources to those operations is
useful.

Q (BY MR. SAMPAT) Did your methodology
consider how OFO makes staffing decisions to protect
economic security?

MR. FENN: Object to form.

THE WITNESS: That was beyond the
scope of what I was asked to address.

Q. (BY MR. SAMPAT) Did your methodology
consider what resources and staffing may need to be
allocated to protect economic security?

A, That was beyond the scope of what I was
asked to address.

G. Did your methodology consider how OFO makes
staffing decisions to prioritize trade and travel
facilitation?

MR. FENN: Objection; form.

THE WITNESS: That was beyond the

scope of what I was asked to address.

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Q. (BY MR. SAMPAT) Did your methodology
consider what resources may be allocated -- sorry.
Strike that.

Did your methodology consider what
resources and staffing may need to be allocated to
facilitate travel and trade across the border?

MR. FENN: Object to form.

THE WITNESS: That was beyond the
scope of what I was asked to address.

C (BY MR. SAMPAT) Did your methodology
consider any staff fluctuation on a particular day
at a port of entry -- at a particular port of entry,
I should say?

MR. FENN: Object to form.

THE WITNESS: At a particular -- can
you repeat the question?

Q. (BY MR. SAMPAT) sure.

Did your methodology consider any
Stati Tluctuation on a particular day at a
particular port of entry?

MR. FENN: Same objection.

THE WITNESS: My report looks at --
looks at some of the contingency plans that discuss
increasing personnel to process additional asylum

seekers, so it is mentioned -- looking at different

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staffing levels of ports of entry is mentioned in
the report.

Q. (BY MR. SAMPAT) Did any of the reports
reflect what the staffing was at a particular port
on a given day?

MR. FENN: Object to form.

THE WITNESS: That information is not
included in any of the databases I received.

QO. (BY MR. SAMPAT) Did your methodology
consider how demographics of asylum seekers might
affect operational capacity at a particular port of
entry?

MR. FENN: Object to the form; asked
and answered.

THE WITNESS: On Page 39, I do mention
that certain groups of asylum seekers or individuals
may need to be held in distinct areas limiting
capacity. That's Page 6 -- or Page 39, Paragraph
Gil. y

Q. (BY MR. FENN) I'm sorry. Which -- which
line is that?

A. It is Line -- it's begins on Line 6, and
certain groups of -- it's in the sentence (as read),
"Changes to support infrastructure" --

Q. Okay.

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Pe It's the second half of that sentence.
Q. Okay. And the MCAT reports wouldn't
reflect that. Correct?
MR. FENN: Object to form.
THE WITNESS: Wouldn't reflect what
specifically?
QO. (BY MR. SAMPAT) When asylum seekers and

other individuals may need to be held in distinct

areas.

A, That is not a variable included in the MCAT
reports.

Q. How about the queue management reports?

A, It is not included in the queue management
reports.

Q. Are you being paid for your services in

this case?

A. I am not.

Q. Did you waive your fee in this case?

A, T: Gig,

Os why?

A. Because I was under -- well, plaintiffs’

counsel let me know that this was a pro bono case.
Q. If plaintiffs prevail in this action, will
you request compensation then?

A. I honestly hadn't thought that far in

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advance. I don't expect to.

MR. SAMPAT: Can you give us two
minutes?

(Off the record)

Q. (BY MR. SAMPAT) Ms. Leutert, we're back on
the record. You understood you're still under oath?

A. Yes.

Q. Thank you. At this time, we actually have
no further questions, and we're going to pass --
we're going to pass you over to counsel.

MR. SAMPAT: If you have any?

MR. FENN: I'm sorry. Can you give us
five more minutes?

MR. SAMPAT: Yeah, yeah. Take your
time.

(Off the record)

MR. FENN: We have no guestions for
Ms. Leutert.

MR. SAMPAT: Okay. We are actually
going to hold the deposition open at this time.
There is the matter of the notes and stuff that we
had subpoenaed from Ms. Leutert regarding her field
notes and things like that, and we were told we'd
be -- so wetll be in touch and clarify all that, and

then we'll go from there.

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MR. FENN: Okay. Thank you.
MR. SAMPAT: All right. Thank you
very much.

(Deposition concluded at 3:05 p.m.)

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CHANGES AND CORRECTIONS
STEPHANIE LEUTERT - JANUARY 28, 2020 - VOLUME 1

[DISREGARD IF WAIVED]

Reason Codes: (1) to clarify the record; (2) to
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error; (4) (please explain).

PAGE/ LINE CHANGE REASON CODE

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I, STEPHANIE LEUTERT, have read the foregoing

deposition and hereby affix my signature that same

is true and correct,

SIGNATURE

except as noted above.

STEPHANIE LEUTERT

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA
(SAN DIEGO)
AL OTRO LADO, INC.,
ET Wh. ,

Plaintiffs,

vs. NO. 3:17-CV-02366-BAS-KSC

CHAD F. WOLF, ACTING
SECRETARY, U.S. DEPARTMENT
OF HOMELAND SECURITY, IN
HIS OFFICIAL CAPACITY,

BET AL.,

Defendants.

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REPORTER'S CERTIFICATION

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ORAL DEPOSITION OF

STEPHANIE LEUTERT
VOLUME 1

JANUARY 28, 2020

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I, Jodi Cardenas, Certified Shorthand Reporter
in and for the State of Texas, hereby certify to the
following:

That the witness, STEPHANIE LEUTERT, was duly
sworn by the officer and that the transcript of the
oral deposition is a true record of the testimony
given by the witness;

I further certify that pursuant to the Federal
Rules of Civil Procedure, Rule 30(e) (1) (A) and (B)
as well as Rule 30(e) (2) that the signature of the

deponent :

was requested by the deponent and/or a
party before the completion of the deposition and is
to be returned within 30 days from date of receipt
of the transcript. If returned, the attached
Changes and Corrections and Signature Pages contains

any changes and the reasons therefor;

X was not requested by the deponent or

a party before the completion of the deposition.

That $ is the deposition officer's

charges for preparing the original deposition
transcript and any copies of exhibits charged to

DEFENDANTS ;

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That pursuant to information given to the
deposition officer at the time said testimony was

taken, the following includes all parties of record:

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I further certify that I am neither counsel
for, related to, nor employed by any of the parties
or attorneys in the action in which this proceeding
was taken;

Further, I am not a relative nor an employee of
any attorney of record in this cause, nor am I
financially or otherwise interested in the outcome
of the action.

Certified to by me this 3RD day of FEBRUARY,

2020.

JODI CARDENAS, RPR, Texas CSR 7594
CSR Expiration: 12/31/21

WRIGHT WATSON & ASSOCIATES

Firm Registration No. 225

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